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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

LAUTHA V. ANDERSON, SR.,                       )
                                               )
       Plaintiff,                              )
                                               )
vs.                                            )        Case No. 4:17-CV-2659 AGF
                                               )
CHANTAY GODERT, et al.,                        )
                                               )
       Defendants.                             )

       MOTION TO PERMIT PLAINTIFF LAUTHA V. ANDERSON, SR.
                  TO APPEAR IN COURT AT TRIAL
  WITHOUT SHACKLES OR OTHER RESTRAINTS AND IN CIVILIAN CLOTHES

       COMES NOW Plaintiff Lautha V. Anderson, Sr. (“Plaintiff”), by and through his attorney,

and for his Motion to Permit Plaintiff to Appear in Court at Trial Without Shackles or Other

Restraints and in Civilian Clothes and submits his memorandum of law concurrently herewith and

states to this Honorable Court as follows:

       1.      This case is set for trial on November 16, 2020.

       2.      The trial on this matter involves civil rights violations of Plaintiff that occurred

while Plaintiff was a prisoner in the custody of the Missouri Department of Corrections.

       3.      At the time of the trial in this matter, Plaintiff will still be in the custody of the

Missouri Department of Corrections.

       4.      During Mr. Anderson’s case, he has not attempted to cause harm to anyone and has

participated in this action without incident and without exhibiting any violent or disruptive

behavior, including making any threats towards the individual defendants or their counsel.

       5.      Plaintiff respectfully requests that he be permitted to appear at his trial without

shackles or other restraints and in civilian clothes.
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        6.       Plaintiff has a constitutional right to a fair civil trial.

        7.       Although the jury will be aware that Plaintiff was a convicted prison at the time of

the incident subject to this case because of the nature of Plaintiff’s claims, the shackles and distinct-

colored prison garments will exacerbate any pre-existing prejudice jurors may have toward

Plaintiff because of his prisoner status and these items may cause jurors to perceive him as a threat.

        WHEREFORE, Plaintiff respectfully requests that this Honorable Court grant his Motion

to Permit Plaintiff to Appear in Court at Trial Without Shackles or Other Restraints and in Civilian

Clothes and for such other and further relief this Honorable Court deems just and proper under the

circumstances.


                                                  Respectfully submitted,

                                                  SCHOTTEL & ASSOCIATES, P.C.

                                                  BY: s/James W. Schottel, Jr.
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                                                           Attorney for Plaintiff
                                                           Lautha V. Anderson, Sr.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 11, 2020, the foregoing was filed electronically with the
Clerk of Court to be served by operation of the Court’s electronic filing system upon the following:

                                              Michael Pritchett
                                              Michael.Pritchett@ago.mo.gov

                                              James W. LeCompte III
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                                              Attorneys for Defendants
                                              Chantay Godert, et al.


                                              s/James W. Schottel, Jr.




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